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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


MARY E. LUBKE,                                  Civil Action No. 1:15CV

             Plaintiff,                         Hon.
v.
                                                COMPLAINT
OXFORD LAW, LLC,                                JURY TRIAL DEMANDED

             Defendant.
                                                              /


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_______________________________/


                                Jurisdiction and Venue

       1. This Court has original jurisdiction under 28 USC § 1334; and under the Fair

Debt Collections Practices Act, 15 U.S.C. § 1692k(d); and 28 U.S.C. §§ 1331 and 1337.

This Court has supplemental jurisdiction regarding Plaintiff’s state law claims under 28

U.S.C. § 1367. Venue in this judicial district is proper because Defendant transacts

business here, the pertinent events took place here, and Plaintiff resides here.

       2. This action arises out of Defendant’s repeated violations of the discharge

injunction provided by 11 USC §524; repeated violations of the Fair Debt Collection

Practices Act, 15 U.S.C. § 1692 et seq. ("FDCPA"); and repeated violations of the

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Michigan Collection Practices Act (“MCPA”), M.C.L. § 445.251 et seq..

                                           Parties

       3. Plaintiff Mary E. Lubke, formerly known as Mary E. Lantrip and Mary E. Wilson,

is a natural person who resides in Robinson Township, County of Ottawa, State of

Michigan, and is a "consumer" and “person” as that term is defined by 15 U.S.C. §

1692a(3). Ms. Lubke is a "consumer," "debtor" and "person" as the terms are defined

and used in the MCPA.

       4. Defendant Oxford Law, LLC ("Oxford"), is a Pennsylvania limited liability

company, with its principal place of business at 311 Veterans Hwy, Ste 100A

Levittown, Bucks County, Pennsylvania 19056. Upon information and belief, Larry Weil

is a member of Oxford, and acts as its chief executive officer. Oxford is engaged in the

business of consumer debt collection. Oxford uses interstate commerce and the mails in

a business the principal purpose of which is the collection of consumer debts. Oxford

regularly collects or attempts to collect, directly or indirectly, debts owed or due or

asserted to be owed or due by another. Oxford is a "regulated person" as the term is

defined and used in the MCPA.; and is a "debt collector" as that term is defined by 15

U.S.C. § 1692a(6).

                                    Factual Allegations

       5. Ms. Lubke co-signed a Wells Fargo loan with her adult son, Timothy Barratt, in

March, 2005. In March, 2012, approximately $32,600 was due on the Wells Fargo debt.

       6. Timothy Barratt incurred this Wells Fargo debt primarily for personal, family, or

household purposes. Ms. Lubke’s co-signing of this consumer debt was also primarily

for personal, family, or household purposes.

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       7. Ms. Lubke filed a Chapter 7 bankruptcy case in the US Bankruptcy Court for

the Western District of Michigan on April 27, 2012, Case No. 12-04136.

       8. Ms. Lubke scheduled the Wells Fargo debt in her bankruptcy case on

Schedule F in the amount of $32,600; and noted the name and address of her co-debtor

and a description of the debt on Schedule H.

       9. The US Bankruptcy Court entered its discharge order in Ms. Lubke’s Chapter 7

bankruptcy case on September 5, 2012. A copy of the discharge order is attached at

Exhibit A.

       10. The Wells Fargo debt was not excepted from discharge.

       11. The Wells Fargo debt was discharged in Ms. Lubke’s Chapter 7 bankruptcy

and became legally unenforceable as a result of that discharge.

       12. The discharge of the Wells Fargo debt operated as “an injunction against

(any) act to collect (the Wells Fargo debt) ... as a personal liability” of Ms. Lubke. 11

USC §524(a)(2).

       13. On or about August 26, 2014, Craig Johnson, an employee or agent with

Oxford, called Ms. Lubke on her cell telephone in an attempt to collect the discharged

Wells Fargo debt. Upon receiving the message, Ms. Lubke panicked and immediately

called Mr. Johnson back on August 26, 2014. During that initial telephone conversation,

Ms. Lubke informed Mr. Johnson that she had filed a Chapter 7 bankruptcy and had

received her discharge. Mr. Johnson argued that Ms. Lubke’s discharge did not apply to

the Wells Fargo debt because it was a student loan debt, which Ms. Lubke denied. Mr.

Johnson then told Ms. Lubke that he required payment of the debt immediately and urged

Ms. Lubke to withdraw funds from her 401(k) retirement account to pay the debt.

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      14. Between August 26 and September 15, 2014, Mr. Johnson or other Oxford

employees or agents called Ms. Lubke’s cell telephone approximately twenty times.

      15. On or about August 27, 2014, Oxford pulled a TransUnion credit report.

Upon information and belief, that credit report included information regarding Ms. Lubke’s

Chapter 7 bankruptcy case filing, including the filing date and case number.

      16. On or about August 28, 2014, Oxford mailed Ms. Lubke correspondence, the

purpose of which was to collect the discharged Wells Fargo debt. A copy of that

correspondence is attached at Exhibit B and incorporated here.

      17. On October 2, 2014, Oxford employee or agent Renee Quinn called Ms.

Lubke’s cell telephone twice within 15 minutes.

      18. On or about October 6, 2014, Oxford mailed Ms. Lubke another letter, the

purpose of which was to collect the discharged Wells Fargo debt. A copy of that

correspondence is attached at Exhibit C and incorporated here.

      19. As a result of Oxford’s abusive collection actions, Ms. Lubke has sustained

severe and permanent injuries that include, but are not limited to, stress, headaches,

chronic sleeplessness, fright, frustration; extreme anxiety and emotional distress;

monetary losses in the form of her costs and time associated with communicating with her

bankruptcy attorney to confirm the discharge of the Wells Fargo debt; consultation with

her current attorney regarding Oxford’s illegal attempt to collect the discharged Wells

Fargo debt; and other injuries.



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                                        Summary

       20. All of the above-described collection actions Oxford took against Ms. Lubke

represented Oxford’s knowing and willful attempt to collect a debt which Oxford knew, or

should have known, was discharged and unenforceable against Ms. Lubke; and violated

the discharge injunction provided by 11 USC § 524.

       21. All of the above-described collection actions Oxford took against Ms. Lubke

violated numerous and multiple provisions of the FDCPA, including but not limited to 15

U.S.C. §§ 1692d, 1692d(5), 1692e, 1692e(2), 1692e(4), 1692e(5), 1692e(10), 1692f, and

1692f(1), amongst others.

       22. The above-detailed conduct by Oxford of harassing Ms. Lubke in an effort to

collect a discharged and legally unenforceable debt were violations of numerous and

multiple provisions of the FDCPA, including but not limited to all of the above mentioned

provisions of the FDCPA.

       23. The above-detailed conduct by Oxford of harassing Ms. Lubke in an effort to

collect the legally discharged and unenforceable Wells Fargo debt cannot be collected

using the methods threatened and used by Oxford; were violations of numerous and

multiple provisions of the MCPA, including but not limited to all of the above mentioned

provisions of the MCPA.

       24. This series of abusive collection efforts by Oxford has extremely distressed

Ms. Lubke.

       25. This series of abusive collection contacts by Oxford caused Ms. Lubke to lose

sleep, cry, and caused physical illness including stomachaches, headaches, extreme

stress, nervousness, fright, frustration, anxiety and other emotional distress.

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        26. Ms. Lubke has suffered actual damages as a result of these enjoined and

illegal collection communications and efforts by Oxford in the form of her time and

expenses to consult with her attorneys; anxiety, emotional distress, fear, frustration,

upset, humiliation, embarrassment, amongst other negative emotions; and attorney

fees.

                                        Trial by Jury

        27. Plaintiff is entitled to and hereby respectfully demands a trial by jury on all

issues so triable. US Const. amend. 7. Fed.R.Civ.P. 38.



                                     Causes of Action

                                        Count I.
                   Violations of the Bankruptcy Discharge Injunction

        28. Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

        29. Defendant Oxford knew, or should have known that the Wells Fargo debt was

discharged in Ms. Lubke’s Chapter 7 bankruptcy case.

        30. Oxford’s foregoing acts in attempting to collect this discharged debt against

Ms. Lubke constitute willful violations of the Bankruptcy Discharge Injunction provided by

11 USC 524(a)(2).

        31. Plaintiff has suffered damages as a result of these willful violations of the

Discharge Injunction.




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                                        Count II.
                 Violations of the Fair Debt Collection Practices Act
                                15 U.S.C. § 1692 et seq.

       32. Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       33. In enacting Fair Debt Collection Practices Act, Congress made a specific

finding as follows:

       There is abundant evidence of the use of abusive, deceptive, and unfair
       debt collection practices by many debt collectors. Abusive debt collection
       practices contribute to the number of personal bankruptcies, to marital
       instability, to the loss of jobs, and to invasions of individual privacy.

15 U.S.C. § 1692(a).

       34. The foregoing acts and omissions of Oxford constitute numerous and

multiple violations of the FDCPA including, but not limited to, each and every one

of the above-cited provisions of the FDCPA, 15 U.S.C. § 1692 et seq., with respect

to Ms. Lubke.

       35. As a result of each and every Oxford’s violations of the FDCPA, Ms.

Lubke is entitled to actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory

damages in an amount up to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A);

and, reasonable attorney's fees and costs pursuant to 15 U.S.C. § 1692k(a)(3),

from Oxford.

       36. Oxford’s conduct as alleged above was willful, oppressive, fraudulent,

malicious, and done in reckless disregard of Ms. Lubke’s rights, thereby

warranting the imposition of punitive damages.




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                                    Count III.
              Violations of the Michigan Collections Practices Act


      37. Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

      38. Defendant Oxford and its employees/agents are “regulated persons”

as defined by MCL §445.251(g)(xi) in the Michigan Collections Practices Act

(“MCPA”) MCL 445.251, et seq.

      39. Ms. Lubke is a person whom the act was intended to protect, MCL

445.251(d).

      40. Oxford’s foregoing acts in attempting to collect this debt against Ms.

Lubke constitute violations of the Michigan Collections Practices Act.

      41. Plaintiff has suffered damages as a result of these willful violations of

the Michigan Collections Practices Act.

      42. These violations of the Michigan Collections Practices Act were willful.

                                     Count III.

                                 Prayer for Relief

      WHEREFORE, Plaintiff prays that judgment be entered against Defendant:

                                    Count I.
               Violations of the Bankruptcy Discharge Injunction


                 for an award of actual damages pursuant to 11 USC §524;

                 for an award of costs of litigation and reasonable attorney's fees

against Defendant and for Plaintiff; and



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                 for such other and further relief as may be just and proper.

                                     Count II.
              Violations of the Fair Debt Collection Practices Act
                             15 U.S.C. § 1692 et seq.

                 for an award of actual damages pursuant to 15 U.S.C.

   §1692k(a)(1) against Defendant and for the Plaintiff;

                 for an award of statutory damages of $1,000.00 pursuant to 15

U.S.C. §1692k(a)(2)(A) against Defendant and for the Plaintiff;

                 for an award of punitive damages in an amount to be determined

by the Court sufficient to deter the Defendants from future violations of the Fair Debt

Collection Practices against Defendant and for the Plaintiff;

                 for an award of costs of litigation and reasonable attorney's fees

pursuant to 15 U.S.C. § 1692k(a)(3) against Defendant and for each Plaintiff; and

                 for such other and further relief as may be just and proper.

                                    Count III.
              Violations of the Michigan Collections Practices Act

             for an award of actual damages pursuant to MCL §445.257(2);

             for an award of treble actual damages pursuant to MCL §445.257(2);

             for an award of costs of litigation and reasonable attorney's fees

pursuant to MCL §445.257(2) against Defendant and for each Plaintiff; and

             for such other and further relief as may be just and proper.




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                                              Respectfully submitted,



Date: May 18, 2015                             /s/ Roger G. Cotner
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